                       Case 2:14-cr-00043-KJM  Document
                                    IN THE UNITED STATES 79 Filed 07/23/14
                                                         DISTRICT  COURT Page 1 of 1
                                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                  Plaintiff,

                          v.                               CR NO: 2:14-CR-043-KJM

JOSEPH ROBERT SHARPE,
                                 Defendant.


                           AMENDED APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:        JOSEPH ROBERT SHARPE
Detained at              Deuel Vocational Institution
Detainee is:             a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with:
                  or     b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or     b.)      ☒ be retained in federal custody until final disposition of federal charges


                           Appearance is necessaryFORWITH in the Eastern District of California.

                         Signature:                              /s/ Sherry D. Hartel Haus
                         Printed Name & Phone No:                Sherry D. Hartel Haus, (916) 554-2711
                         Attorney of Record for:                 United States of America

                                               WRIT OF HABEAS CORPUS
                               ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee FORWITH and any further proceedings to be had in
this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.
Dated:      July 22, 2014                                   /s/ Kendall J. Newman
                                                            Honorable Kendall J. Newman
                                                            U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                 ☒Male     ☐Female
Booking or CDC #:         AU0537                                                           DOB:      10/11/1978
Facility Address:         23500 Kasson Road, Tracy, CA 95376                               Race:
Facility Phone:           (209) 835-4141                                                   FBI#:
Currently                 P.O. Box 400, Tracy, CA 95378-0004

                                                     RETURN OF SERVICE
Executed on:
                                                              (signature)
